                                                                  FI.L·ED
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 1   DONALD H. HELLER, SBN 55717                                      DEC 2 7 2019
     DONALD H. HELLER,                                         CLERK, U.S. DISTRICT COURT
 2   A Law Corporation                                       EASTERN DISTRICT OF CALIFORNIA

     3638 American River Drive
                                                             ev _ _  --===--__.lf?,....
                                                                       DEPUTY CLERK ~
 3
     Sacramento, CA 95825
 4   Tel: (916) 974-3500
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 6
     ATTORNEYS FOR DEFENDANT
 7   Jorge Eguiluz
 8
 9                       IN THE UNITED STATES DISTRICT COURT

10                     FOR THE EASTERN DISTRICT OF CALIFORNIA

11
      UNITED STATES OF AMERICA                   CASE NO. 2:17-cr-00053-JAM
12
                                Plaintiff,
13                                               AMENDED STIPULATION TO MODIFYING
14    vs.                                        TRAVEL RESTRICTIONS, TEMPORARY
                                                 RELEASEOFPASSPORTAND
15     JORGE EGUILUZ,                            [PROPOSED OlffiEl't]
16                             Defendant.
17
18
19
20
              IT IS HEREBY stipulated by and between the United States of America
21
22   through its undersigned counsel, Kevin C. Khasigian, Esq., Assistant United States

23   Attorney, and Donald H. Heller, Esq., counsel for defendant Jorge Eguiluz, that the
24   restrictions on travel previously imposed upon the defendant be modified to permit
25
     the defendant to travel to and from the city of Mexico City, Country of Mexico
26
     through Guadalajara , Mexico (see Attached itinerary Exhibit A) from his place of
27
28   residence in Stockton, California. Departing from Sacramento International Airport


                                     1
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
                           2: 17-cr-00053-JAM
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 1   (SMF) on December 30, 2019 and returning to SMF on January 8, 2020, for the

 2   purpose of defendant visiting with his family, including his elderly mother who live
 3
     outside of Mexico City, Mexico on Aeromexico Airlines.
 4
            On November 4, 2019, Magistrate Judge Kendall J. Newman granted a
 5
 6   similar Order modifying Travel Restrictions, and Temporary Release of Passport

 7   (Doc. 232) and the defendant upon return surrendered his passport with the Clerk of
 8
     this Court. (Doc. 238).
 9
            Defendant Eguiluz on December 11, 2018 was granted a similar order
10
11   modifying his travel to and from Mexico, and the release of his passport by the Hon.

12   Allison Claire, United States Magistrate Judge (Doc. 139).
13          The Court should note that the on March 9, 2019, the parties hereto, signed a
14
     formal agreement to defer prosecution of the indictment against the defendant until
15
     April 15, 2019 and an agreement to exclude time under the Speedy Trial Act. Doc.
16
17   152). The defendant is no longer subject to pretrial services supervision .

18          The defendant is aware of the Notice to Defendant Being Released executed
19
     by the defendant on April 10, 2017, remains in full force and effect, specifically that it
20
     is a criminal offense under Title 18 U.S.C. §3146, if, after having been released, the
21
22   defendant knowingly fails to appear as required by the conditions of release.

23          The defendant's United States Passport which is presently in the possession
24
     of the Clerk of this Court and it is Stipulated that the Clerk of this Court, deliver said
25
     passport to the defendant in compliance with this Order at the Clerk's office during
26
27   regular business hours.

28


                                    2
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
                           2:17-cr-00053-JAM
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 1            It is further Stipu lated that the United States Passport in the name of the

 2   Defendant, be returned by the defendant to the United States District Court Clerk of
 3
     this District in compliance with this Order no later than January 10, 2020 .
 4
 5
 6   IT IS SO STIPULATED.

 7   Dated:     December 27, 2019                       DONALD H. HELLER,
                                                        A Law Corporation
 8
                                                        Isl Donald H. Heller
 9
                                                        DONALD H. HELLER
10                                                      Attorney for Defendant
11                                                      Jorge Eguiluz

12   Dated:     December 27, 2019                       MCGREGOR W. SCOTT
                                                        United States Attorney
13
14                                                      Isl Kevin C. Khasigian by Donald H.
                                                        Heller with Authorization
15
                                                        KEVIN C. KHASIGIAN
16
                                                        Assistant U.S. Attorney
17                                                      Attorney for the United States

18
19            I have read and understand this stipulation and the consequences of failing to

20   appear in accordance with this order and promise and agree to comply with its
21   terms.
22
     Dated: December 27, 2019                           Isl Jorge Equiluz
23                                                      JORGE EGUILUZ
                                                        Defendant
24
25                                ~    [BROPOSEDjORDER
26            Good cause appearing, based on the stipulation of counsel for the parties
27   stated above it is hereby Ordered that:
28


                                                 3
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
                           2:17-cr-00053-JAM
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 1            1. The restrictions on travel previously imposed upon the defendant be

 2   modified to permit defendant to travel to and from the city of Mexico City, Country of
 3
     Mexico through Guadalajara, Mexico from his place of residence in Stockton,
 4
     California. Departing from Sacramento International Airport (SMF) on December 30 ,
 5
 6   2019 and returning to SMF on January 8, 2020.

 7            2. The United States Passport in the name of the Defendant, previously
 8
     surrendered by the Defendant to the United States District Court, and presently in
 9
     the possession of the Clerk of this Court, be delivered to the defendant in
10
11   compliance with this Order at the Clerk's office during regular business hours on or

12   after the date of this Order; and
13            3. That said Passport be returned to the United States District Court Clerk in
14
     compliance with this Order no later than January 10, 201920.
15
16
17   Dated:     /   J -d 7 . , / r                        n. Deborah Barnes
18                                                       nited States Magistrate Judge

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                                     4
     STIPULATION AND PROPOSED ORDER MODIFYING TRAVEL RESTRICTIONS
                           2: 17-cr-00053-JAM
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 • SMF to MEX : Fare Rules and Restrictions


                    ---------
 Flight overview




                                        I
                                              Travel dates
                                              12/30/2019
                                              Itinerary#
                    Ii]
                                          I
                                              71002197224682



 Your reservation is booked and
 confirmed. There is no need to call
 us to reconfirm this reservation.

 Confirmation
 XAXBJT (Aeromexico)

 Ticket#
 1397483325678 (JORGE EGUILUZ)

 Change or cancel th is reservation

 You can still add cancellation, medical and baggage protection.

 Protect My Trip

 Expires 24 hours after confirmation of flight booking




D Departure Mon, Dec 30
Aeromexico 789
 Sacramento (SMF)                                ~, J
                                                           Guadalajara (GDL)
11 :50pm                                                   5:40am +1 day
Terminal: B                                                Terminal: 1
                                                           Arrives on Dec 31, 2019

Cabin: Economy I Coach (V)
3h 50m duration


D 1h 20m stop Guadalajara (GDL)
                                         - -----------------
Aeromexico 251
Guadalajara (GDL)                                          Mexico City (MEX)
7:00am                                          •          8:25am
Terminal: 1                                                Terminal: 2

Cabin: Economy I Coach (V)


                           EXHIBIT A- Travel Itinerary
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 1h 25m duration



 Total duration
 6h 35m

 ----- --- ------
 Flight overview

                                       Travel dates
                                       1/8/2020
                                       Itinerary#

                                       71002197224682



 Your reservation is booked and
 confirmed. There is o need to call
 us to reconfirm this eservation.

 Confirmation
 LQZOAL (Aeromexico)

 Ticket#
 1397483322493 (JORGE EGUILUZ)

 Change or cancel this reservation



 D Return Wed , Jan 8
 Aeromexico 224
 Mexico City (MEX)                                  Guadalajara (GDL)
 5:00pm                                   •         6:28pm
 Terminal: 2                                        Terminal: 1

 Cabin: Economy/ Coach (Q)
 1h 28m duration
                      ------                        ----------
D 1h 15m stop Guadalajara (GDL)

 Aeromexico 788
 Guadalajara (GDL)                                  Sacramento (SMF)
 7:43pm                                  •          10:05pm
                                                    Terminal: B
 Terminal: 1

 Cabin: Economy / Coach (Q)
 4h 22m duration




                          EXHIBIT A- Travel Itinerary
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 Total duration
 7h 5m




 Traveler(s)

 JORGE EGUILUZ
 No frequent flyer details provided

 Update traveler details and make special requests . Please confirm all requests with your airline.




 Price summary

 Flight 1: SMF to MEX
 Traveler 1: Adult                         $376.60
   Flight                                 $319.00
   Taxes & Fees                            $57.60
 Expedia Booking Fee                           $6 .05
 Flight 2: MEX to SMF
 Traveler 1: Adult                         $389.30
   Flight                                 $286.00
  Taxes & Fees                            $103.30

 Total                                       $771.95
All prices are quoted in USO.




Additional information

 Flight 1: SMF to MEX


This price includes a nonrefundable booking fee.

Fare Rules and Restrictions

Restrictions include:


    • Airline assigns seats
    • Bring a carry-on bag
    •    Pay to bring a checked bag
    •    No refund 24 hours after booking
    •    Changes not allowed
    •    Upgrades not allowed




                                EXHIBIT A- Travel Itinerary
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 Airline rules + restrictions
 We understand that sometimes plans change. We do not charge a cancel or change fee.
 When the airline charges such fees in accordance with its own policies, the cost will be
 passed on to you .

 Please read the comp lete penalty rules for changes and cancellations applicable to this fare .

 Tickets are nonrefundable, nontransferable and name changes are not allowed.

 Please read important information regarding airline liability limitations.


 Flight 2: MEX to SMF



 Airline rules + restrictions
 We understand that sometimes plans change. We do not charge a cancel or change fee .
 When the airline charges such fees in accordance with its own policies, the cost will be
 passed on to you .

 Please read the comp lete penalty rules for changes and cancellations applicable to this fare .

 Tickets are nonrefundable, nontransferable and name changes are not allowed.

 Please read important information regarding airline liability limitations.


                                                                              ----- -
 More help

 Change or cancel this reservation .

 Visit our Customer Support page.

 Call Expedia Rewards gold Dedicated Customer Care at 1-866-539-4149 or 1-702-939-2635.
 For faster service, mention itinerary #71002197224682




 Complete your trip




                                                                    Ii]




                            EXHIBIT A- Travel Itinerary
